                       Case 2:22-mj-01705-VRG Document 1 Filed 07/22/22 Page 1 of 2
AO 442 (REV. 12/85)




                             UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF TEXAS, DEL RIO DIVISION

United States of America                                    §
                                                            § CRIMINAL COMPLAINT
vs.                                                         § CASE NUMBER: DR:22-M -01705(1)
                                                            §
(1) Hannah Nichole Diaz                                     §



                I, the undersigned complainant being duly sworn state the following is true and correct to the best

of my knowledge and belief. On or about July 19, 2022 in Dimmit county, in the WESTERN DISTRICT OF

TEXAS defendant(s) did, knowing or in reckless disregard of the fact that an alien has come to, entered, or

remains in the United States in violation of law, transports, or moves or attempts to transport or move such

alien within the United States by means of transportation or otherwise, in furtherance of such violation of law



in violation of Title             8            United States Code, Section(s)     1324(a)(1)(A)(ii)

.

                I further state that I am a(n) Border Patrol Agent and that this complaint is based on the

following facts: "On July 19, 2022, defendant DIAZ, Nichole Diaz a United States Citizen, was arrested near

Carrizo Springs, Texas, within the Western District of Texas, for the transportation of one illegal aliens in

furtherance into the United States. Border Patrol Agents conducted a welfare check on a vehicle parked on

the side of the road. Vehicle matched the description of a

Continued on the attached sheet and made a part of hereof.




Sworn to before me and subscribed in my presence,
                                                                           Signature of Complainant
                                                                           Melton, Lance T.
                                                                           Border Patrol Agent

07/22/2022                                                            at   DEL RIO, Texas
File Date                                                                  City and State



VICTOR ROBERTO GARCIA                                                      ______________________________
UNITED STATES MAGISTRATE JUDGE                                             Signature of Judicial Officer
            Case 2:22-mj-01705-VRG Document 1 Filed 07/22/22 Page 2 of 2
CONTINUATION OF CRIMINAL COMPLAINT

                                WESTERN DISTRICT OF TEXAS
      UNITED STATES OF AMERICA

                       vs.                             Case Number: DR:22-M -01705(1)

           (1) Hannah Nichole Diaz

Continuation of Statement of Facts:

concerned citizen who had previously reported it for the suspicion of alien smuggling. Agents determined driver
DIAZ, Nichole as a United States Citizen, but the other subject was determined to be a foreign national illegally
present in the United States. In a sworn statement, DIAZ admitted that her ex-boyfriend asked her to pick up a
person for monetary gain."




______________________________
Signature of Judicial Officer                                   Signature of Complainant
